
CatRON, Ch. J.
delivered the opinion of the court.
In the county court, there was a verdict and judgment for the 'defendants below, Stockton &amp; Bumpass, and the plaintiffs appealed to the circuit court, but failed to bring up the record within fifteen days; and on the first day of the circuit court the record was filed, and on motion, the judgment affirmed on behalf of the appellees. This is the express .injunction of the court law of 1794, sec. 66: the record must be filed, so' that the witnesses may be summoned before the term of the circuit court commences. In this case, affidavits were made by the attorney of the plaintiffs, and by the clerk of the circuit court, alleging that the clerk applied to the clerk of the county court for the record, fifteen days before the commencement of the term, but who refused to deliver the record to the circuit court clerk, and a certiorari was moved for. The appellant, *166or his attorney, alone bad the legal right to call for the record; , ,. , J’ , , “ , , , and although the usual mode is lor the county court clerk to deliver the appeals to the clerk of the circuit court, jet the latter has no legal right to demand the record, without express authority to this effect from the appellant, which authority does not appear iff this case, and hence the judgment must be affirmed.
Judgment affirmed.
